      Case 19-11389-ref         Doc 8 Filed 03/07/19 Entered 03/07/19 08:49:35                      Desc Order
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                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF PENNSYLVANIA

    In Re:                                             Chapter: 13
        David J. Angstadt
                            Debtor(s)                  Bankruptcy No: 19−11389−ref

                                        ORDER


    AND NOW, this 7th day of March 2019 , the debtor having failed to file or submit with the
petition all of the documents required by Fed. R. Bankr. P. 1007,

  It is hereby ORDERED that:

 1. This case MAY BE DISMISSED WITHOUT FURTHER NOTICE if the documents listed
below are not filed by deadline also listed below:

               Documents and Deadline

               Chapter 13 Plan due by 03/20/2019.
               Chapter 13 Statement of Your Current Monthly Income and
               Calculation of Commitment Period Form 122C−1 Due 03/20/2019.
               Means Test Calculation Form 122C−2 − If Applicable − Due: 03/20/2019.
               Schedules AB−J due 03/20/2019.
               Statement of Financial Affairs due 03/20/2019.
               Summary of Assets and Liabilities Form B106 due 03/20/2019.

  2. Any request for an extension of time must be filed prior to the expiration of the deadlines listed
above in Paragraph 1.




                                                                                           By the Court

                                                                                    Richard E. Fehling
                                                         Chief Judge , United States Bankruptcy Court
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                                                                                                             Form 130
